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IN THE UNITED STATES DISTRIC'I` COURT
FOR THE EASTERN DIS'I`RIC’I` OF VIRGINIA
Norfolk Division ~ `
R.M.S. TITANIC, INC.,
successor in'interest to Titanic
Ventures, limited partnei‘ship,
Plaintiff,
v. ` civil Acson NO. 2:93cv902
The Wrecl<ed and Abandoned
Vessel, . . .beiieved to be
the RMS TITANIC, i_n ;e_m,
Defendant. l
OBJECTION TO NOTICE OF APPEARANCE AN]) l\/lEMORAN})Ul\/I IN SUPPOR’I`

NOW COMES Plaintiff RMS Titanic, Ine., (“RMST”), by counsel, and objects to the
Notiee of Appearance filed on behalf of the National Maritirne Museurn (“the Museum”). As
§rounds for this objection, RMST states as follows:

On luiy 9, 2018, Edward J. Powers, Esq. and his law firm, Vandeventer Black, LLP filed
a Notice of Appearance on behalf of the National Maritirne Museurn. Sirnply 'put, the Museum
has no standing to participate in this case, nor is a Notice of Appeai‘ance the proper procedural
mechanism in Whieh to attempt to intervene in these proceedings

Standing is “an essential and unchanging part of the ease-or»controversy requirement of
Artiele III” of the United States Constitution. Lujan 'v. Defenders of Wi!dlife, 504 U.S. 555, 560,
112 S.Ct. 2130, 2136 (1992)`. Constitutional standing consists of three elements: (l) an injury in
faot, that is “concrete and particularized” and “actual 01' imminent',” 2) a causal relationship

between the injury and the conduct complained thei'eof; and 3) “it must be ‘lil<ely,’ as opposed to

hierer ‘speculative,’ that the injury Wiil be ‘1'edressed by a favorable decision.” Id. (inteinal

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citations omitted). The party invoking the jurisdiction of this Court bears the burden of
establishing these elements Id.

The Museum has no standing in these proceedings as it has no injury. It has no claim
Whatsoeverto the Wreclt or Wreck site of the RMS TITANIC, nor to any of the artifacts owned by
RMST. Fuitherrnore, the Museum has no contractual or other relationship With RMST.

Rather, like several other third-paities, the Muscurn seeks to purchase the assets of RMST
and its parent company, Premier Exhibitions, Inc., pursuant to the Company’s Chapter ll
proceedings, pending in the United States Banl<ruptcy Couit for the Middle District of Florida,
Jacl<sonville Division (the “lBanl<ruptcy Court”). The Museum’s interest in acquiring the 'l`itanic
artifacts through procedures in the Banltruptcy Court does not, however, serve as a substitute for
standing in this action. n

Moreover, a notice of appearance is not the proper procedure to seek to participate in these
proceedings A party Who seeks to intervene in a case has two options available under the Federal
Rules of Civil Procedure: intervention of right and permissive intervention Fed. R. Civ. P. 24. For '
intervention of right, under Rule 24(a)(2), a court must grant an applicant’s motion to intervene if`
it complies with each of the following elements: (l) the motion is` timely; (2) the applicant asserts
an interestl relating to the property or transaction that is the subject of the action; (3) vvithout
intervention, disposition of the action may, as a practical matter, impair or impede the applicant’s

ability to protect its interest; and (4) the applicant’s interest is not adequately represented by the
other paities. Liber£y Muf. Fire Ins. Co. v. Lumber' Liquidators, Ine., 314 F.R..D. 180, 183 (E.D.

Va. 2016) (internal citations omitted).

'l`he Museuin has not filed a proper motion to intervene Indeed, any such motion Would

be futile, as the Museuin cannot comply With any one of the four components in Ruie 24(a)(2), let

 

 

 

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alone all four. The I\/luseum has no legal interest in the property that is the subject of this litigation, `

but merely a desire to acquire it.

The Museum Would fare no better under permissive interventon under Federal Rule of
Civil Procedure 24(1)). That requires either a conditional right to intervene by federal statute, or a
claim that shares With the main action a common question of law or fact. Id. Both are lacking by
the Museum, Which has no legal claim to the artifacts or any property of RMST and its parent,
Premier. '

F or the foregoing reasons, RMST respectfully requests that the Court enter an Order
striking the Notice of Appearance and denying the attempt by the National l\/laritime Museum to
participate in this action.

Respectfully submitted,
R.M.S..TITANIC, INC.

v By Counsel

 

 

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cERTIFICATloN

. l hereby certify that a copy of the foregoing has been delivered to Kent Porter Esq., U.S.
Attorney’s Office, 8000 World ri`rade Center, Norfolk, VA 23510, and Edward Powers, Esq.,
Vandeventer Biacl< LLP, 101 West l\/lain Street, Suite 500, Norfoll<, VA 23510 this 12th day of
lluly, 2018.

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